Case 2:05-cr-20203-.]DB Document 35 Filed 08/25/05 Page 1 of 2 PagelD 54

 

ii\i THE uNiTED sTATEs oisTRioT couFtT mw E"~-- ----- ~D¢G
i=oR THE wEsTERN DisTRicT oi= TENNESSEE
wEsTERN oivisioN 95 AU@ 25 AH l|= 38
ltiuiiiai =L;§ULD
uNiTEo sTATEs oF AMEFticA CLEHK, USl DlSiliivTGOlM

WfD OF lN, MEMPHIS
Plaintiff

VS.
CR. NO. 05-20203-B

KATH FiYN BOWERS,

Defendant.

 

oRoER oi\i coNTiNuANcE AND sPEciFYiNG PEi=iioo oF Exci_qusi_E DELAY
AND §EE|\LQ

 

This cause was set for trial on the Septerriber, 2005 criminal rotation calendar.
Counsel for the defendant has requested a continuance of the trial date in order to allow
for additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 with a

Report Date of Thursday, Segtember 22, 2005, at 8:45 am., in Courtroom 1, 1 ith Floor

of the Federal Building, l\/lemphis, TN.

 

The period from September 16, 2005 through October 14, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy tria|.

iris so oRoEan this 93 day or Augusi, 2005.

 
     

 

.o NiE` i_ BREEN \
ui\ii o sTATEs oisTRicT JquE

wis ,:;Dcum@m aimeer on the docket *'isat in compliance

Wim mile 55 and/or szib) ritch on ’c$' § »OS' @

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:05-CR-20203 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

William D. Massey
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

Memphis7 TN 38103

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

Honorable J. Breen
US DISTRICT COURT

